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GRAND BLANC TWP POLICE                                                                              Case No. 1885202272
DEPT                                              Report Date/Time:   6/11/2018 3:28:22 AM
                                                                                                    Report No. 1885202272.1
ARREST REPORT                                                                                       Case Status ARREST




FILE CLASS/OFFENSE:
1313 - 13001 - Assault and Battery/Simple Assault

4899 - 48000 - Obstruct Police (Other)

2298 - 22003 - Burglary - Entering Without Permission

NATURE OF INCIDENT:
13001/48000/22003/Assault/Obstruct Police/Unlawful Entry/Dodge/Wright

OCCURRED ON:                6/11/2018 12:45:00 AM
(and Between)

VENUE:
12 - Grand Blanc Twp Genesee                  Donna Dr

VICTIM: V1                        VICTIM OF    1313 - 13001 - Assault and Battery/Simple Assault
                                               2298 - 22003 - Burglary - Entering Without Permission
VICTIM TYPE          Individual                   ALERT
NAM                  Bo , M                       AGE        34                        ETH                UNKNOWN
AKA                                               DOB            1981                  RAC                WHITE
NBR/STR                                           SSN                                  SEX                MALE
CSZ                                               HGT        6' 0"                     OPS                                   544
TXH                                               WGT        150                       OPS State          Michigan
TXW                                               EYE        Blue                      Injury             Abrasions
CELL                                              HAI        Brown                     Circumstances

INTERVIEW VICTIM:

VICTIM: V2                        VICTIM OF    1313 - 13001 - Assault and Battery/Simple Assault
                                               2298 - 22003 - Burglary - Entering Without Permission
VICTIM TYPE          Individual                   ALERT
NAM                  ZIG        K                 AGE        37                        ETH                UNKNOWN
AKA                                               DOB             /1981                RAC                WHITE
NBR/STR                                           SSN                                  SEX                FEMALE
CSZ                                               HGT        5' 3"                     OPS                              389
TXH                                               WGT        120                       OPS State          Michigan
TXW                                               EYE        Hazel                     Injury             Apparent Minor Injury
CELL                                              HAI        Brown                     Circumstances

INTERVIEW VICTIM:

VICTIM: V3                     VICTIM OF       4899 - 48000 - Obstruct Police (Other)
VICTIM TYPE          Society/Public               ALERT
NAM                                               AGE                                   ETH
AKA                                               DOB                                   RAC
NBR/STR                                           SSN                                   SEX
CSZ                                               HGT                                   OPS
TXH                                               WGT                                   OPS State

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 v2f                Reporting Officer: OFFICER GUNNER WRIGHT

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GRAND BLANC TWP POLICE                                                                              Case No. 1885202272
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TXW                                               EYE                                   Injury
CELL                                              HAI                                   Circumstances

INTERVIEW VICTIM:

ARRESTEE: A1
NAM                 DODGE, ALEXANDRIA             AGE         27                        ETH               OTHER
                    NICOLE                                                                                ETHNICITY/NATIONAL
                                                                                                          ORIGIN
AKA                                               DOB                 1991              RAC               WHITE
NBR/STR                                           SSN                        37         SEX               FEMALE
CSZ                                               HGT         5' 4"                     OPS                          399
TXH                                               WGT         140                       OPS State         Michigan
TXW                                               EYE         Hazel                     SMT
CELL                                              HAI         Brown                     ALERT
                                                  SID                                   FBI

DATE                  6/11/2018 1:20:00 AM                    ARREST TYPE         TAKEN INTO CUSTODY
ARRESTED
ARRESTED              1313 - 13001 - Assault and              ARMED WITH          Unarmed
FOR                   Battery/Simple Assault
                      2298 - 22003 - Burglary - Entering
                      Without Permission
                      4899 - 48000 - Obstruct Police
                      (Other)
DATE LODGED           6/11/2018 2:10:00 AM                    LOCATION            Genesee County Jail
                                                              LODGED

INTERVIEW ARRESTEE:

OTHER ENTITY: O1                            TYPE (COMPLAINANT) Complainant
NAM                 ZIG      ,K                  AGE    37                 ETH                            UNKNOWN
AKA                                              DOB          1981         RAC                            WHITE
NBR/STR                                          SSN                       SEX                            FEMALE
CSZ                                              HGT    5' 3"              OPS                                               389
TXH                                              WGT    120                OPS State                      Michigan
TXW                                              EYE    Hazel              ALERT
CELL                                             HAI    Brown

INTERVIEW OTHER ENTITY:

OTHER ENTITY: O2                            TYPE (COMPLAINANT) Other Person
NAM                 Dodge, Ja                    AGE    39                              ETH               UNKNOWN
AKA                                              DOB         /1979                      RAC               WHITE
NBR/STR                                          SSN                                    SEX               MALE
CSZ                                              HGT    6' 0"                           OPS                        207
TXH                                              WGT    290                             OPS State         Michigan
TXW                                              EYE    Brown                           ALERT
CELL                                             HAI



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GRAND BLANC TWP POLICE                                                                       Case No. 1885202272
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ARREST REPORT                                                                                Case Status ARREST




INTERVIEW OTHER ENTITY:
Uncle to K and K

NARRATIVE:

Assisting Officer: Ofc. K. Herkner Grand Blanc Township Police Department 5405 Saginaw St. Flint MI 48507

Ofc. T. Whitt Grand Blanc Township Police Department 5405 Saginaw St. Flint MI 48507

On Sunday, 6/11/2018 at approximately 0053 I (Ofc. G. Wright) was dispatched by Central Dispatch to              Donna
Dr. for unknown trouble. Central advised that the homeowner had a female subject pinned to the ground in the front
yard, waiting for police arrival. I arrived on scene at approximately 0058. On arrival, I saw three individuals (later
identified as Ms. Alexandria Nicole Dodge, Ms. K               Zig    , and Mr. M               Bo ) in the front yard
of the residence, yelling at each other. On approach I saw that Ms. Zig     was bleeding from the face and her chest
was covered in blood. I saw that Ms. Dodge was bleeding from the mouth. I separated the three subjects and waited
for backup officers to arrive. Ofc. K. Herkner and Ofc. T. Whitt arrived on scene shortly after.

Assisting officers kept the subjects separated and I interviewed them regarding the incident. I first spoke with Ms.
Alexandria Nicole Dodge (CLEAR/VALID). Ms. Dodge was visibly upset and kept repeating "those two crackheads
beat my ass." Ms. Dodge stated that she came to          Donna Dr. to pick up her husband. She said that she knocked
on the door and Ms. Zig       and Mr. Bo emerged from the front door and began punching her in the face. She said
that she did not strike Mr. Bo or Ms. Zig        and had no idea why she had been attacked.

I spoke with Mr. Bo (CLEAR) and he relayed the following: He stated that Ms. Dodge arrived at his home
unannounced and pounded on the front door. He said he answered the door and spoke with her. He said that she
demanded that her husband come out of the house. He told Ms. Dodge multiple times that her husband was not
inside and requested that she leave. He closed the door and Ms. Dodge started pounding on the door again. He
answered the door again and was joined by Ms. Zig       . He stated that Ms. Dodge became extremely upset and
began tossing yard ornaments and flower pots at the front door. She then tried to push the door open and he and Ms.
Zig      had to hold it shut. He said that Ms. Dodge backed away from the door and threw an unknown object at
them, striking Ms. Zig       in the face. Ms. Zig   began bleeding from the face and Mr. Bo pushed her off the
porch. Ms. Dodge responded by punching him in in the face multiple times. Mr. Bo said that he struck Ms. Dodge
in the face and forced her to the ground. He instructed Ms. Zig      to call 911 and held Ms. Dodge on the ground
until police arrived.

Ms. Zig     (CLEAR) stated that Ms. Dodge attempted to gain entry into the home and became violent when she
could not. She said that Ms. Dodge threw a spray paint bottle at her face which lacerated her chin. She said that Mr.
Bo tackled Ms. Dodge to the ground after they were both physically harmed.

I requested an ambulance to the scene and all three subjects were evaluated but denied medical treatment for their
injuries. Ms. Dodge had minor bleeding from mouth. Ms. Zig        had a small laceration on her chin. Mr. Bo had a
minor abrasion on his left knee and bloody knuckles on his left hand.

I advised Ms. Dodge that she was under arrest for assault and placed her in handcuffs (double-locked) behind her

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GRAND BLANC TWP POLICE                                                                       Case No. 1885202272
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ARREST REPORT                                                                                Case Status ARREST




back. I searched her and secured her in the rear of my patrol car. Ms. Dodge began screaming at the top of her lungs.
I took photos of Ms. Zig      and Mr. Bo and they advised that they would like to pursue charges. I advised them of
their crime victim's rights and released them from the scene. I attempted to take photos of Ms. Dodge and she began
smashing her head against my backseat windows. Ofc. K. Herkner and I opened the rear doors and attempted to
seatbelt Ms. Dodge for her safety. Ms. Dodge unbuckled the seatbelt and attempted to exit the patrol car. I pushed
Ms. Dodge back in and she attempted to exit the door. Ofc. K. Herkner attempted to push Ms. Dodge back in and she
stood up and held onto the outside of the patrol car with her chin. Ms. Dodge was eventually secured and continued
head-butting the back windows.
Ofc. K. Herkner advised that Ms. Dodge arrived at the home with her two young daughters (K                    K
         who were secured in the backseat of a vehicle. Ofc. K. Herkner arranged for the girls uncle to pick them up
from the scene. The uncle, identified as Mr. J                   Dodge (CLEAR/VALID) arrived and picked up the
girls.

I transported Ms. Dodge to the Genesee County Jail where she had to be forcefully removed by jail staff. Ms. Dodge
was medically cleared by Jail medical staff and placed in a safety cell. She would not allow me to read her Miranda
Rights, or obtain necessary information for jail booking. Every attempt to talk to Ms. Dodge was met by loud
screaming.

I returned to the Grand Blanc Township Police Department and notified Child Protective Services of the incident
(LOG#10613141).

Nothing further at this time.

CASE STATUS:
ARREST




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